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March 5, 2023


Honorable Robert W. Gettlemen
Northern District of Illinois
219 S Dearborn St.
Chicago, IL. 60604

RE: Ronald T. Molo


Dear Judge Gettlemen,

My name is Russell Brenza. I have lived in Naperville, IL. for 33 years and have owned and operated
my Personal Chef Services small business there for 20 years.

Ron Molo has informed me of the charge he faces and I wish to offer my personal experiences of his
good character and provide a more complete picture of who Ron is as a person.

First and foremost, Ron Molo has been a close friend of mine and my family for 46 years. We first
became friends when we met working together for A&P grocery store. When we got older and married,
we stood up in each others’ wedding parties. I have always found Ron to be honest, trustworthy, and
unselfish with his time and friendship. At a professional level, when he began working for Edward
Jones, I didn’t hesitate to trust him with my life’s savings. My parents and siblings, who have known
Ron as long as I have, also trusted Ron enough to allow him to handle their assets as well.

Ron was there for me when my parents were ill and passed away, first my father and later my mother.
He was the first of my friends to ask what he could do to help my family. He was there to comfort us
and to help us navigate through the financial decisions that would have to be made, knowing we were
overwhelmed by the weight of this life changing event. Ron Molo really was our guiding light during
this difficult time.

I know Ron to be a good husband, father, and son who puts his family above himself. When Ron’s
father Aldo got older and found it more and more difficult to care for himself, Ron didn’t hesitate to ask
him to come live with him and his wife Cathy. They literally provided him with his own space to live
semi-independently and with dignity while being close to a loving family to help with any need that
might arise.

I also know Ron to be an active member of the community, being invited as a speaker for different
local organizations, involved with local chapters of Rotary Club, and a parishioner of the Catholic
church. As a member of the church, Ron played an active role in many of their fundraisers, one being a
Trivia Night fundraiser that me and most of my family members participated in because it was for a
good cause but, mainly because it was for our friend Ron.
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Finally, after speaking heart to heart with Ron, I know that he deeply regrets his actions and how those
actions have impacted many lives, not just his own. I pray this one event does not forever define Ron
Molo because, while this may be something he did, it is not who he is. Ron has learned a tremendous
lesson and he desperately wants to move forward with his life in a positive way. His family, friends,
and community will be the ones to suffer a hardship without Ron being a part of it. I hope this letter
helps to show Ron’s true nature and I hope that you can provide leniency in your decision.

Thank you, Judge Gettlemen
I am available to confirm the facts in this letter as necessary.

Respectfully,
Russell A. Brenza
